                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        CRIMINAL NO. 3:17-CR-134-FDW-DSC


 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 v.                                             )                   ORDER
                                                )
 RENALDO RODREGUS CAMP,                         )
                                                )
                 Defendant.                     )



        On May 22, 2017, Defendant appeared before this Court for detention hearing and

arraignment. He was represented by appointed counsel Roderick G. Davis. At the outset of the

hearing, Defendant interrupted the Assistant U. S. Attorney and was admonished by the Court. At

the conclusion of the hearing, the Court ordered Defendant detained. As he was leaving the

courtroom, Defendant began yelling in a belligerent tone about “black people” being “locked up.”

The Court commenced the next hearing and Defendant continued yelling from the lockup in a loud

and belligerent tone. At one point during the course of the next hearing, Defendant yelled “f—k

the judge” which was clearly audible inside the courtroom. Defendant was returned to the

courtroom for summary contempt proceedings following completion of the morning session.


        The contempt powers of a United States Magistrate Judge are set forth in 28 U.S.C. §

636(e), as amended by the Federal Courts Improvement Act of 2000. Those powers include

summary criminal contempt authority in any case before the Magistrate Judge, as well as criminal

and civil contempt authority in certain civil consent and misdemeanor cases. Specifically, a

Magistrate Judge's criminal contempt authority includes “the power to punish summarily by fine



      Case 3:17-cr-00134-FDW-SCR         Document 280       Filed 05/22/17     Page 1 of 2
or imprisonment, or both, such contempt of the authority of such magistrate judge constituting

misbehavior of any person in the magistrate judge's presence so as to obstruct the administration

of justice.” 28 U.S.C. § 636(e)(2). “The sentence imposed by a magistrate judge for any criminal

contempt [under 28 U.S.C. § 636(e)(2) & (3)] shall not exceed the penalties for a Class C

misdemeanor as set forth in sections 3581(b)(8) and 3571(b)(6) of Title 18.” 28 U.S.C. § 636(e)(5).

Based upon the maximum penalties for a Class C misdemeanor, any person found guilty of

criminal contempt faces up to thirty (30) days imprisonment (18 U.S.C. § 3581(b)(8)) and a

$5,000.00 fine (18 U.S.C. § 3571(b)(6)). “The contempt order must recite the facts, be signed by

the judge, and filed with the clerk.” Fed.R.Crim.P. 42(b).


       Defendant’s conduct occurred in the Court’s presence and constituted misbehavior

obstructing the administration of justice. The Court advised Defendant that he was being held in

summary criminal contempt for his belligerent conduct. The Court allowed Defendant and his

counsel an opportunity to respond.


       Based upon the foregoing, the Court finds Defendant guilty of summary criminal contempt

in the presence of the undersigned United States Magistrate Judge, pursuant to 28 U.S.C. §§

636(e)(2) and (5). Accordingly, Defendant is committed to the custody of the Attorney General

for thirty (30) days imprisonment.


       The Clerk is directed to send copies of this Order to counsel for the parties, and to the

Honorable Frank D. Whitney.


       SO ORDERED.



                                  Signed: May 22, 2017




   Case 3:17-cr-00134-FDW-SCR             Document 280        Filed 05/22/17      Page 2 of 2
